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6                                       UNITED STATES DISTRICT COURT

7                                  CENTRAL DISTRICT OF CALIFORNIA

8

9    JAMES ESTAKHRIAN,                             )   Case No. CV 11-3480 FMO (CWx)
                                                   )
10                         Plaintiff,              )
                                                   )
11                   v.                            )   AMENDED JUDGMENT
                                                   )
12   MARK OBENSTINE, et al.,                       )
                                                   )
13                         Defendants.             )
                                                   )
14

15           Pursuant to the Court’s Findings of Fact and Conclusions of Law, and the Court’s Order of

16   July 8, 2019 (Dkt. No. 637), granting plaintiffs’ Motion to Correct Judgment, IT IS ADJUDGED

17   THAT:

18           1. Judgment shall be entered in favor of plaintiffs on their claims for (1) breach of fiduciary

19   duty; (2) violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200,

20   et seq.; and (3) violation of the California Consumers Legal Remedies Act, Cal. Civil Code §§

21   1750, et seq.

22           2. Defendant Mark Obenstine shall disgorge and pay as restitution to the class members

23   the amount of twelve (12) million dollars he received as attorney’s fees in the Watt litigation.

24           3. Subject to any allocation for attorney’s fees and costs to be determined at a later date,

25   each class member’s share of the net monetary award shall be computed based on the pro rata

26   recovery each class member received from the Watt settlement.

27           4. The Preliminary Injunction previously entered on November 19, 2017, (Dkt. 575) is

28   hereby converted to a permanent injunction.
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1           5. Defendant Mark Obenstine shall not assign, transfer, mortgage, pledge or encumber his

2    real property located at 909 SW Schaeffer Road, West Linn, Oregon 97068 (the “Oregon House”

3    or the “Property”), except as set forth in this Judgment.

4           6. Obenstine shall, within 48 hours of acceptance of any offer for sale of the Property,

5    notify the court and plaintiffs of the sale price and provide the court and plaintiffs’ counsel with a

6    copy of the contract of sale. Obenstine shall also provide the court and plaintiffs’ counsel with a

7    copy of any changes or amendments to such contract of sale within 24 hours of such changes or

8    amendments.

9           7. Obenstine shall notify the court and plaintiffs’ counsel 24 hours before opening escrow

10   for the sale of the Property and provide the name, address, and contact information of the escrow

11   company or attorney and the responsible escrow agent. Obenstine shall provide the escrow

12   company with a copy of this Judgment within 24 hours of the opening of escrow.

13          8. Obenstine shall direct the escrow agent to transfer the proceeds of any sale of the

14   Oregon House to the Clerk of the Court for the Central District of California. The Clerk of the

15   Court is directed to accept the proceeds of the sale and deposit it into the Court’s registry pending

16   further order of the court. Proceeds include, but are not limited to, the sale price of the Oregon

17   House minus all customary settlement costs and adjustments and commissions for sale of the

18   Property.

19   Dated this 8th day of July, 2019.

20                                                                         /s/
                                                                    Fernando M. Olguin
21                                                               United States District Judge

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